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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


ANDREA SZEBENI,                           )
                                          )
      Plaintiff,                          )
                                          )     Case No. 2:19-cv-02073-JPM-cgc
v.                                        )     Jury Demanded
                                          )
FAIRHAVEN HOLDINGS, LLC d/b/a             )
FAIRHAVEN TREATMENT CENTER,               )
And REFRESH MENTAL HEALTH, INC.           )
                                          )
      Defendants.                         )
______________________________________________________________________________

                             PROTECTIVE ORDER
______________________________________________________________________________

       Pursuant to Rule 26 of the Federal Rules of Civil Procedure, and subject to the approval of

this Court, the Parties hereby stipulate and agree to the following protective order:

       1.      Plaintiff and Defendants (collectively, the “Parties”) have agreed that certain

categories of documents deserve protection from disclosure to the general public. Therefore, the

Parties agree to disclose Confidential Materials, which shall be those documents designated as

“Confidential” pursuant to the terms of this Agreed Protective Order (and subject to the Federal

Rules of Civil Procedure), and agree to be bound by all terms of this Agreed Protective Order with

respect to such materials. The documents and things designated “Confidential Materials,” as

designated by the party from whom discovery is sought, contain (a) financial information, (b)

personal information, (c) medical information, (d) employee information, (e) proprietary business

information, and/or (f) other sensitive information related to the litigants that may be considered

confidential or proprietary under applicable law. Information that is publicly available or already

in the possession of the non-disclosing party may not be deemed confidential by virtue of this
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order. The Parties agree to designate as “Confidential” only those documents that they reasonably,

and in good faith, believe should be treated as confidential. The Confidential Materials shall be

maintained in accordance with the terms of this Agreed Protective Order. The aforementioned

Confidential Materials include any portion of documents, discovery responses, testimony, or other

discovery materials containing confidential information. If the Parties cannot agree on whether

particular materials should be treated as confidential hereunder, the party seeking to change the

designation of the materials may apply to the Court to have the confidential designation removed.

If a party objects to classification of information as confidential and moves to have that information

removed from the restriction, the burden of establishing that the materials are entitled to a

confidential classification shall fall on the party seeking to use the designation.

       2.      The Confidential Materials described in ¶ 1 above may be used only for purposes

of this litigation including appeals, and not for promotional, competitive, or other purposes, and

may be disclosed only to the following persons in connection with this litigation:

               a.      Counsel of record for any party, including associated or general counsel,

       and the legal associates, student attorneys, paralegals, legal assistants, or other support staff

       of such counsel assisting in the preparation of this action;

               b.      Those directors, officers, and employees of the parties, parties to the

       litigation, and anticipated and actual fact witnesses other than the parties to the Litigation,

       with whom counsel determines it is necessary to confer in the preparation of this action,

       provided that counsel has a good-faith basis to disclose such information to any such person

       (and provided that any confidential information not essential for the review is first

       redacted);




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               c.      Independent experts or consultants employed by counsel for the purpose of

       directly assisting counsel with this action;

               d.      Witnesses expected to testify at any deposition, hearing, or trial, including

       use during the preparation of witnesses and potential witnesses;

               e.      The Court and court personnel involved in this case (including court

       reporters and persons operating audio or video recording equipment at depositions or other

       proceedings);

               f.      Any court, including this Court, or appellate body which has cause to

       consider any of the issues raised in this action;

               g.      Any other person upon written consent from the party which produced or

       gave such Confidential Discovery Materials; and

               h.      Any other person or entity to whom this Court determines disclosure is

       appropriate.

       4.      A designation of materials as Confidential shall be made by affixing or placing

the notice “Confidential” on all such materials. The designation shall be affixed in a manner

that does not interfere with the legibility or use of the materials. There shall be no such

designation with respect to any materials except where the designating party or parties and their

counsel of record have a reasonable, good faith belief that the materials in fact contain

information subject to protection pursuant to the standards set forth in this Order.

       5.      Information designated as Confidential Materials pursuant to this Agreed

Protective Order shall be treated as so by all persons to whom such information may be disclosed.

In addition, except for counsel representing the Parties (as defined in ¶ 2(a)), and Court personnel

(as defined in ¶ 2(e)) – each person who is authorized by this Order to inspect or to have access

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to materials designated as Confidential and who in fact inspects any such materials shall, before

conducting such inspection or having such access, be provided with a copy of this Agreed

Protective Order, and shall be bound by this Order.

       6.       At any time after the production of any materials designated as Confidential by

one party, any other party to this Order may serve a notice of objection to such designation

stating the reasons for such objection. The Parties shall make a good faith effort to confer and

to informally resolve any disagreement over any objection to a “Confidential” designation of

documents or information. Should the Parties be unable to resolve the issue raised by the

objection, the objecting party may thereupon seek a ruling from this Court with respect to the

merits of the designation.

       7.       Whenever any Confidential document is identified or marked as an exhibit in

connection with deposition testimony given in these proceedings, it shall be kept separate from

the other exhibits in an envelope marked “Confidential – Subject to Agreed Protective Order.”

Once the written transcript is marked and prepared in the foregoing manner, the videographer

shall label any tape that includes confidential information as “Confidential – Subject to Agreed

Protective Order.” Confidential deposition transcripts and videotapes shall be treated the same

as other Confidential Materials as required by this Order.

       8.       The execution of this Order by the Parties’ counsel shall constitute a

representation that all persons employed by the Parties and the Parties’ counsel shall observe this

Order and that all persons to whom Confidential Materials are disclosed as set forth in ¶ 2 must

agree to be bound by this Order by signing the “Statement of Affirmation” that is attached hereto

as Exhibit 1.




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       9.      Subject to the Federal Rules of Evidence, the Confidential Materials may be offered

in evidence at trial, deposition, court hearing, or in connection with any motion, response or other

pleading filed with the Court, but only under the terms of this Order.

       10.     The filing or production of Confidential Materials under the terms of this Order

shall not alter the confidentiality of the Confidential Materials or alter any existing obligation of

any party.

       11.     If filed with the Court, Confidential Materials shall be filed under seal to be

reviewed by Court personnel only and not to be released to the public. The Parties will agree to

confer, prior to filing a pleading or other document with the court, as to whether any documents

marked as “Confidential” can be filed without the protections of this paragraph.

       12.     If the case is appealed, the party designating the Confidential Materials shall agree

to such orders as necessary to allow appropriate Confidential Materials to be included in the record

of appeal.

       13.     If a third party or another court or an administrative agency subpoenas or orders the

production of Confidential Materials from any party, the party from whom the information is

sought shall notify the other Parties of such subpoena or order within five (5) days of its receipt of

the subpoena or order. The party from whom information is sought shall wait a minimum of ten

(10) days to tender the documents to the requesting entity, unless the requesting entity asks the

documents be produced in less than ten days, in order to give the other Parties an opportunity to

review the order or subpoena and seek appropriate relief from the Court if desired. In the event

that the information ordered by the requesting entity is to be produced within ten (10) days, the

party from whom the information is sought shall notify the other Parties as soon as practical of its

receipt of the subpoena or order and will not produce the documents until so ordered.

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         14.   This Order is intended to facilitate efficient litigation between the Parties and is not

intended to alter resolution of any substantive issues or to affect the Parties’ substantive rights.

         15.   This Order may be amended by agreement of counsel for the Parties in the form of

a stipulation filed with and approved by the Court.

         16.   Willful violation of this Order may be punishable by the contempt power of the

Court.

         17.   The Order shall survive until the final destruction or return of the Confidential

Materials as required herein, and the Court shall retain jurisdiction to resolve any dispute

concerning the use or disclosure of Confidential Materials. Within thirty (30) days of final

resolution of this matter the Parties shall return the documents marked by the other party as

confidential and represent that all other copies have been destroyed.

         SO ORDERED.

         ENTERED THIS 2nd day of May, 2019.

                                               /s/ Jon McCalla
                                               JON P. McCALLA
                                               U.S. DISTRICT COURT JUDGE




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                                      AGREED AND CONSENTED TO:


                                      /s/ Louis P. Britt III
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                                      Mollie K. Wildmann (TN BPR No. 037012)
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                                      COUNSEL FOR DEFENDANTS


                                      s/James M. Simpson (by LPB with permission)
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                                      COUNSEL FOR PLAINTIFF




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                                                )
       Plaintiff,                               )
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FAIRHAVEN HOLDINGS, LLC d/b/a                   )
FAIRHAVEN TREATMENT CENTER,                     )
And REFRESH MENTAL HEALTH, INC.                 )
                                                )
       Defendants.                              )



                          STATEMENT OF AFFIRMATION


       I, _______________________, hereby acknowledge receipt of a copy of the Protective

Order in the above-captioned case and promise and agree to abide by and be bound by the

Protective Order.

       This ______ day of ___________________________ 2019.



                                         Signature: ____________________________

                                         Printed Name: _________________________




                                       EXHIBIT 1




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